     Case 1:21-cv-10216-WGY Document 168 Filed 12/16/21 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

                                    )
SIEMENS GAMESA RENEWABLE            )
ENERGY A/S,                         )
                                    )
          Plaintiff,                )
                                    )      C.A. No. 1:21-cv-10216-WGY
v.                                  )
                                    )
GENERAL ELECTRIC CO.                )
                                    )
                                    )
          Defendant                 )
                                    )


    DECLARATION OF STEPHANIE M. HATZIKYRIAKOU IN SUPPORT OF
 PLAINTIFF’S MOTION TO PRECLUDE CERTAIN OPINIONS OF GE’S DAMAGES
                    EXPERT, CHRISTINE S. MEYER
           Case 1:21-cv-10216-WGY Document 168 Filed 12/16/21 Page 2 of 5




I, Stephanie M. Hatzikyriakou, declare as follows:

          1.   I am an attorney at the law firm of Baker and Hostetler LLP, counsel for Plaintiff

Siemens Gamesa Renewable Energy A/S (“SGRE” or “Plaintiff”) in the above-captioned matter.

I am licensed to practice law in Pennsylvania and New Jersey and am admitted pro hac vice in

this matter (Dkt. 61).

          2.   I make this declaration in support of Plaintiff’s Motion to Preclude Certain

Opinions of GE’s Damages Expert, Christine S. Meyer. I am familiar with the facts set forth

herein.

          3.   Attached hereto as Exhibit A is a true and correct copy of excerpts of the rebuttal

expert report of Christine S. Meyer, dated November 30, 2021. Defendant GE designated this

document “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” under the Protective

Order (Dkt. 71) in this matter.

          4.   Attached hereto as Exhibit B is a true and correct copy of excerpts of the

deposition transcript of Vincent Schellings, dated October 6, 2021. Defendant GE designated

this document “HIGHLY CONFIDENTIAL– ATTORNEY’S EYES ONLY” under the

Protective Order (Dkt. 71) in this matter.

          5.   Attached hereto as Exhibit C is a true and correct copy of a document produced

by GE bearing the Bates number GE_SGRE_000113144. Defendant GE designated this

document “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” under the Protective

Order (Dkt. 71) in this matter.

          6.   Attached hereto as Exhibit D is a true and correct copy of excerpts of the rough

deposition transcript of Christine S. Meyer, dated December 10, 2021. Defendant GE designated




                                                2
           Case 1:21-cv-10216-WGY Document 168 Filed 12/16/21 Page 3 of 5




this document “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” under the

Protective Order (Dkt. 71) in this matter.

          7.    Attached hereto as Exhibit E is a true and correct copy of excerpts of the

Amended Expert Report of Kimberly J. Schenk, dated November 22, 2021. Plaintiff SGRE

designated this document “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under

the Protective Order (Dkt. 71) in this matter.

          8.    Attached hereto as Exhibit F is a true and correct copy of excerpts of GE’s Third

Supplemental Responses and Objections to SGRE’s Interrogatories (Nos. 1-25), dated October

27, 2021. Defendant GE designated this document “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” under the Protective Order (Dkt. 71) in this matter.

          9.    Attached hereto as Exhibit G is a true and correct copy of excerpts of the

deposition transcript of John T. Olesen, dated September 16, 2021. Defendant GE designated

this document “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the

Protective Order (Dkt. 71) in this matter.

          10.   Attached hereto as Exhibit H is a true and correct copy of a document marked as

Claramunt Deposition Exhibit 15. Defendant GE designated this document “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order (Dkt. 71) in this

matter.

          11.   Attached hereto as Exhibit I is a true and correct copy of a document produced by

GE bearing the Bates number GE_SGRE_000271410. Defendant GE designated this document

“HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” under the Protective Order (Dkt.

71) in this matter.




                                                 3
        Case 1:21-cv-10216-WGY Document 168 Filed 12/16/21 Page 4 of 5




       12.     Attached hereto as Exhibit J is a true and correct copy of the native document

produced by GE bearing the Bates number GE_SGRE_000271410. Defendant GE designated

this document “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” under the

Protective Order (Dkt. 71) in this matter.

       13.     Attached hereto as Exhibit K is a true and correct copy of excerpts of the

deposition transcript of Santiago Claramunt, dated September 22, 2021. Defendant GE

designated this document “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under

the Protective Order (Dkt. 71) in this matter.

       14.     Attached hereto as Exhibit L is a true and correct copy of excerpts of the Rebuttal

Expert Report of Alexander H. Slocum, dated November 30, 2021. Defendant GE designated

this document “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the

Protective Order (Dkt. 71) in this matter.

       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Executed this 16th day of December, 2021.

                                                       /s/ Stephanie M. Hatzikyriakou
                                                       Stephanie M. Hatzikyriakou
                                                       BAKER & HOSTETLER LLP
                                                       1735 Market Street
                                                       Suite 3300
                                                       Philadelphia, PA 19103-7501
                                                       Tel.: (215) 568-3100
                                                       Fax.: (215) 568-3439
                                                       Email: shatzikyriakou@bakerlaw.com




                                                 4
         Case 1:21-cv-10216-WGY Document 168 Filed 12/16/21 Page 5 of 5




                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document filed through the ECF system will be sent

electronically to the registered participants as identified in the Notice of Electronic Filing (NEF)

this 16th day of December, 2021. I further certify that unredacted copies of exhibits to this

document will be served on counsel of record via electronic mail on this 16th day of December,

2021.

                                                         /s/ Cory C. Bell
                                                         Cory C. Bell




                                                 5
